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U.S. Department of Justice

 

United States Attorney
Southern District of New York

 

The Silvio J. Mallo Building
One Saint Andrew’s Plaza
New York, New York 10007

May 24, 2023

BY ECF AGU w!D FY FAS OAS

The Honorable John G. Koeltl

United States District Judge

Southern District of New York EG OnGErED

500 Pearl Street

New York, NY 10007 Qe? ~
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Re: United States v. Edward Mullins, 22 Cr. 120 (JGK) Foy 3 Vy! g 9 J
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Dear Judge Koeltl:

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The Government writes, with the consent of defense counsel, to respectfully request an
adjournment of the sentencing hearing in this matter, which is currently scheduled for July 18,
2023. Unfortunately, the lead case agent, who was responsible for the investigation in this matter,
is unavailable on July 18, and would strongly prefer to attend the sentencing. The parties are
available during the week of July 31, 2023. The Government apologizes to the Court for any
inconvenience caused by this request.

Respectfully submitted,

DAMIAN WILLIAMS
United States Attorney

By: __/s/ Alexandra Rothman
Alexandra Rothman
David Robles
Andrew Rohrbach
Assistant United States Attorneys
Southern District of New York
Tel: (212) 637-2580

06.20.2018

 

 
